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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
                                  Civil Division

MADYE HENSON,                             :
15505 Sunningdale Pl                      :
Upper Marlboro, MD 20774                  :
                                          :
       Plaintiff,                         :
                                          :
                                          :
v.                                        :     Civil Action No.: 1:20-cv-02043
                                          :
WASHINGTON REGIONAL                       :
ASSOCIATION OF                            :
GRANTMAKERS,                              :
1100 New Jersey Avenue, SE, Ste. 710      :
Washington, DC 20003,                     :
                                          :
Nicola O. Goren,                          :
4228 Alton Pl, NW                         :
Washington, DC 20016,                     :
                                          :
Kelly Lynch,                              :
3640 Fessenden Street, NW                 :
Washington, DC 20008,                     :
                                          :
Hanh Le,                                  :
232 R. Street, NE                         :
Washington, DC 20002,                     :
                                          :
and                                       :
                                          :
Gretchen Greiner-Lott                     :
3053 Chestnut, SW                         :
Washington, DC 20015                      :
                                          :
       Defendants.                        :


                              NOTICE OF REMOVAL

      Defendants Washington Regional Association of Grantmakers (“WRAG”), Nicola Goren

(“Goren”), Hanh Le (“Le”) and Gretchen Greiner-Lott (“Greiner-Lott”) (collectively



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“Defendants”) by counsel and pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, files this Notice of

Removal of a civil action from the Superior Court of the District of Columbia to the United States

District Court for the District of Columbia. In support of this Notice, WRAG states the following

grounds for removal:

       1.       On or about June 30, 2020, Plaintiff Madye Henson filed a Complaint against

Defendants in the Superior Court for the District of Columbia, Case No. 2020 CA 002934 B.

       2.       Henson served Defendants on July 1, 2020. In accordance with 28 U.S.C. §

1446(a), a copy of all process, pleadings, and orders served upon Defendants is attached hereto as

Exhibit 1.

       3.       On page seven of the Complaint, Henson indicates that her discrimination action is

brought pursuant to Section 1981 of the Civil Rights Act of 1866, as codified, 42 U.S.C. §1981.

Exh. 1 at pp. 6-7. Accordingly, this Court has federal question jurisdiction over this matter

pursuant to 28 U.S.C. §§ 1331 and 1441.

       4.       Defendants have not filed any answer or responsive pleading to the Complaint or

made any appearance before the Superior Court of the District of Columbia in this matter.

       5.       Defendants submit this Notice of Removal without waiving any defenses to the

claims asserted by Henson, without conceding Henson has pled claims upon which relief can be

granted, or without conceding that Defendants have been properly served.

       6.       This Notice is filed with this Court within thirty days after Defendants receiving a

copy of the Complaint upon which this action is based.

       7.       Upon filing this Notice of Removal, Defendants will provide a written notification

to Henson and will file a copy of this Notice with the Clerk of the Superior Court of the District




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of Columbia as required by 28 U.S.C. § 1446(d). A copy of the Notice of Filing of Notice of

Removal is attached hereto as Exhibit 2.

       For these reasons, Defendants respectfully request the Case Number 2020 CA 002934 B

currently pending in the Superior Court of the District of Columbia be removed to this Court.

                                            Respectfully submitted,

                                            JACKSON LEWIS P.C.


July 27, 2020                                /s/ John M. Remy
                                            John M. Remy (DC Bar No. 461244)
                                            Janea J. Hawkins (D.C. Bar No. 1025600)
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                                            John.Remy@jacksonlewis.com
                                            Janea.Hawkins@jacksonlewis.com

                                            Counsel for Defendants Washington
                                             Regional Association of Grantmakers,
                                             Nicola Goren, Kelly Lynch, Hanh Le, and
                                             Gretchen Greiner-Lott




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on July 27, 2020, a true and correct copy of the foregoing Notice of

Removal was served via U.S. Mail, postage prepaid, on:



                  Derek S. Sells, Esq., (DC Bar No. 420398)
                  The Cochran Firm
                  55 Broadway, 23rd Floor
                  New York, NY 10006
                  Tel. No: (212) 553-9215
                  Fax No.: (212) 227-8763
                  Email: Dsells@cochranfirm.com

                  Counsel for Plaintiff Madye Henson



                                                      /s/ John M. Remy
                                                     John M. Remy (DC Bar No. 461244)
                                                     JACKSON LEWIS P.C.
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                                                     John.Remy@jacksonlewis.com

                                                     Counsel for Defendants Washington
                                                       Regional Association of Grantmakers,
                                                       Nicola Goren, Kelly Lynch, Hanh Le,
                                                       and Gretchen Greiner-Lott



4847-0114-9123, v. 1




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